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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

IN RE:
Case No. 01-1139(MFW) through

W.R. GRACE & CO., ET AL Case No. 01-1200(MFW)

GR 6GR CG2 0G UG?

Debtors.

REQUEST FOR NOTICE PURSUANT TO
BANKRUPTCY RULE 2002 AND ALL PENDING
PURSUANT TO BANKRUPTCY RULE 3017(a)

Dies, Dies & Henderson Law Firm, as counsel to numerous asbestos claimants who are
creditors and parties-in-interest in this bankruptcy case, request copies ofall matters (including plans
and disclosure statements) filed or noticed by any party herein pursuant to Federal Rules of
Bankruptcy Procedures 2001(a) and (b) and 3017(a). Copies of all items should be addressed as
follows:

Paul D. Henderson
Dies, Dies & Henderson
1009 W. Green Avenue 2
Orange, Texas 77630
(409) 883-4394
(409) 886-48 14-Facsimile

Respectfully submitted this 23% gay of April, 2001.
RESPECTFULLY SUBMITTED,

DIES, DIES & HENDERSON

By:

PAUL D: HENDERSON
State Bar No. 09426300
1009 W. Green Avenue
Orange, Texas 77630
(409) 883-4394 Telephone
(409) 883-4814 Telecopier

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Case 01-01139-AMC Doc163 Filed 05/01/01 Page 2 of 21

CERTIFICATE OF SERVICE

Thereby certify tat a true and correct copy of the foregoing instrument was sent by regular, First Class

mail to all parties on the attached service list on this the
pf

Péul D. Henderson

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SERVICE LIST
W. R. GRACE & CON.-CONN.

SERVICE TO ALL PARTIES VIA UNITED STATES FIRST CLASS MAIL

COUNSEL TO DEBTOR:

Laura Davis Jones
Pachulski, Stang, Ziehl, et al
P.O. Box 8705

Wilmington, DE 19899-8705
FAX: (302)652-4400

Office of the United States Trustee

Frank Perch

601 Walnut Street, Room 950 West

Philadelphia, PA 19106
FAX: (215) 597-5795

Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601
FAX (312) 861-2000

UNITED STATES TRUSTEE

INTERESTED PARTIES AND COUNSEL FOR ASBESTOS CREDITORS

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One Thomas Circle, N.W.
Washington, DC 20005
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Elihu Inselbuch

Caplin & Drysdale

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FAX: (212) 644-6755

Theodore Goldberg

Mark C. Meyer

Goldgerg, Pesky, Jennings

& White P.C.

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FAX: (412) 471-8308

Mark Lanier
Mt Pleasant, SC 29465
FAX: (843) 216-9450

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Nancy Worth Davis
Ness, Motley, et al

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New York, NY 10038
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Provost Umphrey Law Firm
490 Park Street

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D. Bryan Hughes

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& Hill, L.L.P.

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Robins, Cloud, Greenwood & Lubel, LLP
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Hattiesburgh, MS 39401-3812
Fax: (601) 584-6634

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5" Floor, LB 32

Dallas, TX 75204

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Waters & Kraus

4807 West Lovers Lane
Dallas, TX 75209

Fax: (214) 941-8855

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1009 West Green

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C. Sanders McNew
Weitz & Luxenberg
180 Maiden Lane

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Jones, Day Reavis & Pogue

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Chicago, IL 60601-1692

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Caroselli, Beachler, McTierman & Convoy
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Pittsburgh, PA 15222

Fax: (412) 391-7453

Frank E. Stachyra

Stachyra & Penn

111 West Washington street
Chicago, IL 60602-2703
Fax: (312) 782-4656

Damon Chargois

Foster & Sear, LLP

1201 North Watson Road, Suite #145
Arlington, TX 76006

Fax: (817) 633-5507

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Kaeske-Reeves. LLP
6301 Gaston, Suite #735
Dallas, TX 75214

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Richmond, VA 23219

Fax: (757) 625-4115

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Kelley & Ferraro, LLP
1901 Bond Court Building
1300 East 9 Street

Case 01-01139-AMC Doc 163

Cleveland, OH 44114
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Reaud, Morgan & Quinn
801 Laurel

Beaumont, TX 77701
Fax: (409) 833-8236

Terry Johnson

455 East Illinois Street, Suite #361
Chicago, IL 50511

Fax: (312) 933-3399

Mark Freedlander

Sable Pusateri Rosen Gordon & Adams
Frick Building, 7" Floor

Pittsburgh, PA 15219-6003

Fax: (412) 281-2859

Jon L. Heberling

McGarve, Heberling, Sullivan & McGarvey
745 South Main Street

Kalispel, MT 59901

Fax: (406) 752-7124

Filed 05/01/01 Page 5 of 21
IN RE:

W.R. GRACE & CO., ET AL

Debtors.

Case 01-01139-AMC Doc163 Filed 05/01/01 Page 6 of 21

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Case No. 01-1139(MFW) through
Case No. 01-1200(MFW) +):

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VERIFIED STATEMENT OF DIES, DIES & HENDERSON LAW FIRM

UNDER BANKRUPTCY RULE 2019

I, Paul D. Henderson, representative of Dies, Dies & Henderson Law Firm declare as follows:

lL.

I am a partner with the law firm of Dies, Dies & Henderson (hereinafter “The Firm”). Iam
a member of good standing of the bar of the State of Texas.

I have personal knowledge of the facts set forth herein. | make this Verified Statement
(“Statement”) pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure.

The Firm, a professional corporation, is organized under the laws of the State of Texas, with
its offices for practice of law located at 1009 W. Green Avenue, Orange, Texas 77630.

As of the date of this Verified Statement, The Firm represents a number of personal injury
claimants (the “Claimants” or individually, a “Claimant”) who have been injured by asbestos
products manufactured by W. R. Grace & Co, et al (“Debtor”) and others, and thus hold
claims against, infer alia, the Debtor. Attached as Exhibit “A” is a list of the Claimants
represented by The Firm, each of whom has employed The Firm under a general Power of
Attorney and Employment Contract, a representative form of which is attached as Exhibit
“B”. The original documents for each client are available at reasonable times and on
reasonable notice at The Firm’s offices.

The address for each Claimant represented by the Firm is c/o 1009 W. Green Avenue,
Orange, Texas 77630.

The nature of the claim held by each Claimant is a personal injury tort claim for damages
caused by asbestos products manufactured by the Debtor and/or its related entities. The
amount of each claim is unliquidated except in those instances in which Claimants reached
a settlement or obtained a judgment or verdict before commencement of the case.

Each claimant acquired his or her claim by exposure to asbestos manufactured by the Debtor
prior to the filing of the captioned bankruptcy case.

Each Claimant is represented by The Firm under a fee agreement and power of attorney. The
Firm holds each such instrument, as executed between the parties. By Power of Attorney,
each Claimant has authorized the undersigned to vote and take all action necessary consistent
with the actions provided an office Form 11A Power of Attorney. A representative copy of
The Firm’s power of attorney is attached as Exhibit “B”,
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9, The Firm dies not hold any claims against or interest in the Debtor other than its right to
receive a contingent attorneys fees upon payment to a Claimant.

10. The filing of The Firm’s Verified Statement does not waive any rights including (i) the
Claimants’ rights to have final orders in non-core matters entered only after de novo review
by a district judge; (ii) the Claimants’ rights to trial by jury in any proceeding and any trial
on their claims; (iii) the Claimants’ rights to have the reference withdrawn by the district
Court in any matter subject to mandatory or discretionary withdrawal or abstention to the
extent not previously directed; (iv) the Claimants’ rights in not submitting themselves to the
jurisdiction of the fo the Bankruptcy Court; or (v) any other rights, claims actions, defenses,
reclamations, setoffs, or recoupments to which the Claimants are or may be entitled under
nay agreements, in law or in equity, all of which rights, claims, actions, defenses,
reclamations, setoffs, and recoupments The Firm’s Claimants expressly reserve.

Respectfully submitted this DBE bay of April, 2001.

RESPECTFULLY SUBMITTED,

DIES, D HENDERSON

yyy

PAUL D,HENDERSON
State Bar No. 09426300
1009 W. Green Avenue
Orange, Texas 77630
(409) 883-4394 Telephone
(409) 883-4814 Telecopier

By:

(Request for Admission to be filed)

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STATE OF TEXAS §
§ KNOWN ALL MEN BY THESE PRESENTS:
COUNTY OF ORANGE §

BEFORE ME, the undersigned authority, on this day personally appeared Paul D, Henderson known
to me to be the person whose name is subscribed to the foregoing instrument and acknowledged to me that

he executed the same for the purposes therein expressed.

Given under my hand and seal of office this AB rd day of April, 2001.

“ é
BETTYE KING _ Notary Public, State of dféxas
NOTARY PUBLIC ‘
STATE OF TEXAS
My Commission Expires 2-10-2002

CERTIFICATE OF SERVICE FOR RULE 2019 STATEMENT

I hereby certify that a copy of the foregoing Verified Statement Under Rule 2019 was served
by regular, First Class mail to all parties on the attached Exhibit “C” on this the 43 day of April,

, We

pr D. Hénderson

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Client Name

Cause Numbe

WRGrace

|Date Sui

ADAMS, ARCHIE G. _[A-950,293-C 4/27/95
ADAMS, ARCHIE B. _|A-950,293-C 12/18/96
ADAMS, BETH A-950,293-C 4127195
ADAMS, AUGUSTA ANNIA-950,293-C 4127195
ADAMS, ROBERT D. _|A-950,293-C | 4/27/95
ADAMS, SIMON P. _|A-950,293-C | 4127/95
ADAMS, TAYLOR R. _|A-950,293-C 4/27/95
ADAMS, O. D._ A-163,843 9/22/00
ALEXANDER, WILSON |A-158,325 1/16/98
ALLEN, ALBERT e-153,182 8/31/95
ALLEN, CARL E-152,574 7/31/95
[ANTOINE, MOSE [D-000,121-C 3/14/00
ARABIE, ROBERT 'B-000,062-C 2/4/00
ARDOIN, HERMAN _[D-950,289-C 7/2795
ARMSTRONG, JOSEPH [D-950,292-C 7/27/95
JAUCOIN, OSWALD P. _B-950,319-C 8/15/95
BALDREE, MILTON W._|B-980,043-C 2/4/98
BARRON, HARVEY _|A-940,596-C 12/27/94
BARTON, JOE E. A-950,367-C 8/30/95
BELCHER, JERRY D-000,421-C 10/9/00
BERRY, ARCHIEL. _|A-950,364-C 8/30/95
BERTRAND, DALLAS _ |D-950,366-C 8/30/95
BIHM, JAMES B. D-950,244-C 6/14/95
BLOUNT, WAYNE R. _|B-162,116 1/18/00
BOLES, ROBERT J. _|A-155,929 _| 41/4796
BODELON, DAISY M. _|D-960,516-C 2/9/96
BORDELON, LAWRENC |B-950,359-C 8/30/95
BOUDREAUX, OLLIE _ |A-970,393-C 10/22/97
BOUDREAUX, JOY _|A-614,629 | 2/21/01
BRACKENS, JAMES L., |B-950,365-C 8/30/95
BRADY, WILLIE MAUDE |E-153,188 8/31/95
BRASHERS, MICHAEL _|E-161,258 8/2/99
BREAUX, ABBIEP. _|D-940,358-C 8/8/94
BRISTER, BLYNN B-950,291-C 7/27/95
BRITTAIN, LESTER _B-000,087-C 2/24/00
BROUSSARD, OTIS J. _[B-000,111-C 3/8/00
BROUSSARD, J. CLARE|E-152,577 7/31/95
BROUSSARD, JOSEPH, D-950,256-C 6/28/95
BROWN, JOSEPH L. _[B-990,438-C 11/12/99
BROWN, WALLACE WI |D-146,922 7/30/99
BROWN, WILLIAM PAT |D-950,360-C 8/30/95
BRUMLEY, JIMMY R. _ |E-163,449 3/13/00
BURGE, CAROLYN _|B-156,390 1/24/97
BURGE, GEORGENE _|B-156,390 1/24/97
BURKE, AVERY J., Ill |A-161,176 7/12/99
BUSSELL, DAVIDR. _|A-990,052-C 2/18/99
BUXTON, WILLIAM E. _ |B-960,125-C 3/18/96

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EXHIBIT "A"

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me

BYRD, DAVID M.

Cause Numbe!

WRGrace

\Date Sui

D-010,114-C 3/5/01
CAMPBELL, BARNEY W/|A-990,464-C 12/2/99
CARBAJAL, BENNY L. |A-148,651 3/13/94
CARROLL, FRANKIE JO |D-990,036-C 2/5/99
CARTER, FRANK LEE |A-990,437-C 11/12/99
ICASTLEBERRY, JESSIE |B-010,020-C 1/16/01
CHANCE, DANIEL L. _|B-950,525-C 12/11/95
CHAPMAN, RICHARD E.|A-000,389-C 9/20/00
CHATAGNIER, MELVIN |A-154,227 1/26/96
CHESTER, VIRGILL. _ |D-000,481-C 11/14/00
ICOCKERHAM, MARTHA|D-980,164-C _ 4/16/98
COINE, JAMES, SR. _[A-000,110-C 3/8/00
ICOMEAUX, BILLL. _|E-162,010 12/27/99
COOKS, LIONEL B-010,113-C 3/5/01
CORMIER, MILTON _[B-980,478-C 11/13/98
CORMIER, RAY A. D-000,529-C 12/13/00
CORMIER, RUSSELL R. |A-000,082-C 2/24/00
COURMIER, ALTON L. |D-000,109-C 3/8/00
CROCKETT, JAMES L. |B-970,095-C 3/27/97
CRUSETURNER, JAME |B-161,762 10/25/99
CUELLAR, JUANR. _|[B-158,654 3/19/98
CURRAN, GLENNE. _|B-950,038-C 1/24/95
DALTON, JAMES H. _|A-950,361-C 8/30/95
DAVIS, DENNIS D. B-164,707 3/7/01
DEASON, MIKE B-010,065-C 2/2/01
deLEON, BENJAMIN D. |D-000,484-C 11/13/00
DEMARRETS, DAVID R. |B-156,822 4/14/97
DESPERS, ALBERT D._|A-162,450 3/13/00
DETILLIER, MILTON _|D-149,860 8/22/94
DEVILLIER, PATRICIA [A-162,554 3/31/00
DOUCET, FREDDIE, SR_A-010,076-C 2/13/01
DOYLE, RICHARD A-950,290-C 7/27/95
DUCLION, JOSEPH _|D-960,123-C 3/18/96
DYSON, GENE A. E-162,451 3/13/00
EDWARDS, MELVIN _|D-000,139-C 3/30/00
EGLIN, HOWARD, JR. _|A-000,422-C 10/9/28
ENARD, LOUIS, SR. _|A-000,140-C 3/30/00
ENMON, EDGARL. _|B-010,206-C 4/19/01
EPPS, JOHNNIE A-010,127-C 3/7/01
FIELDS, RONNIE A-990,491-C 12/16/99
FONTENOT, PAULR. _|A-152,582 7/31/95
FOREMAN, DAVID LEE B-000,141-C 3/30/00
FOREMAN, NATHAN LE A-000,061-C 2/4/00
FOUX, SEBURN L. A-158,457 3/13/98
FRANKLIN, VERNON R. |B-950,294-C 7/31/95
FRANKS, LOUIS E-163,834 9/21/00
FRAZIER, CECIL A-990-413-C 10/27/99

Page 2

4/21/01
Case 01-01139-AMC Doc163 Filed 05/01/01 Page 11 of 21

WRGrace

| Client Name Cause Numbe \Date Sui
FULLER, OLLIEILSE  (D-980,251-C 6/17/98
FUSILIER, FRED J., JR. D-980,317-C 7/31/98
GALLETT, JOHN, SR. |D-950,526-C 12/11/95
GARY, JOSEPH LYNN [B-950,258-C 6/28/95
GASPARD, JOHN D-950,295-C 7/27/95
GATLIN, ROY E., JR. = |B-163,926 10/9/00
GAUTHIER, JOE D-990,110-C 3/19/98
GENGO, ANTONY D-010,036-C 1/23/01
GILLIS, JAMES A. A-940,257-C 6/28/95
GRANGER, HENRY E-163,833 9/21/00
GRANT, HEDRICK A-980,090-C 3/6/98
GRAY, ALFRED CHARL |B-149,031 5/10/94
GREEN, DORIS D-970,392-C 10/22/97
GREENHAW, GEORGE |B-000,531-C 12/13/00
GREER, JOHNR., JR. B-157,744 9/23/97
GREGG, JOHN D. D-940,322-C 7/18/94
GRIMES, MARCUS D-970,138-C 4/11/97
HALL, JAMES C. A-010,124-C 3/7/01
HALLIBURTON, ROY L. |B-970,137-C 4/11/97
HAMBERLIN, VAUGHN |A-146,493 6/11/93
HAMILTON, JAMES B. (D-010,063-C 2/2/01
HANKS, DOUGLAS B-161,947 12/7/99
HANSON, ARVIN E. D-010,123-C 3/7/01
HARDING, DENSON __A-970,352-C 9/19/97
HARE, ERNEST F. D-010,189-C 4/11/01
HARRISON, J. T. D-010,009-C 1/8/01
HEBERT, EDWARD A. |D-980,521-C 12/17/98
HEBERT, MELVIN J. _[B-000,532-C 12/13/00
HENDLEY, CURTIS E. /|B-990,351-C 9/25/99
HENDRIX, L. B. A-153,985 12/12/95
HESTER, TRUMAN B-164,906 4/16/01
HEWITT, W. L. B-980,361-C 8/28/98
HOBBS, HERBERT B-164,630 2/21/01
HODGE, FULTON A-156,469 2/7/97
HOGAN, ROBERT D. __|[B-010,008-C 1/8/01
HOLMES, JUNIUSS D-010,126-C 3/7/01
HOLMES, WILLIAM T. |A-162,195 2/7/00
HORN, RUEL D-990,349-C 9/23/99
HOWLAND, MARVIN E. |B-000,390-C 9/20/00
HRYHORCHUK, THOMAIA-010,172-C 4/3/01
HUNT, JAMES H. D-000,391-C 9/20/00
HUNT, LESLIE K. B-145,062 1/10/93
JAMES, VERNON A-980,522-C  —s—_——12/17/98
JEANE, CECIL E-156,753 4/2/97
JEANE, EVELYN A-990,404-C 10/22/99
JERNIGAN, ROBERT _ |D-156,823 4/14/97
JOHNSON, OTIS T. A-010,208-C 4/19/01

Page 3

4/21/01

Case 01-01139-AMC Doc163 Filed 05/01/01 Page 12 of 21

NOHNSON,RONNIE M.

Cause Numbe

WRGrace 4/21/01

\Date Sui

D-960,036-C 1/24/96
JOHNSON, TONY B-950,465-C 10/12/95
JOINER, LEE M. B-000,392-C 9/20/00 2
JONES, BOBBIE R. D-950,363-C 8/30/95
JONES, IVORY F. B-950,362-C 8/30/95
JONES, PAUL A-152,583 7/31/95
KAY, VON CLINTON __ |D-950,466-C 10/12/95
KIRKLAND, JESSE B. |B-930,089-C 1/15/93
LAPOINT, WILBERT J. |B-010,050-C 1/29/01
LAVINE, KALTON D-162,009 12/27/99
LAZARE, JOSEPH C. _|E-136,836 9/21/00
LEBLANC, JOHN H. B-000,534-C 12/13/00
LEBLANC, LEVASTIE, J |D-010,207-C 4/19/01
LEBLEU, ANDREW B-157,099 5/21/97
LEBLEU, JOHN T., JR. |A-010,169-C 4/3/01
LEGER, ROBERT B-940,501-C 10/26/94
LEHMAN, BERNICE A-158,399 1/30/98
LEVINE, PERCY B-970,113-C 4/1/97
LORMAND, EDWARD, S$|A-010,112-C | 3/5/01
LOVELL, JACK A-960,295-C 7/9/96
LYNCH, ROBERT D-970,212-C 6/11/97
MASK, PAUL W. B-160,208 12/17/98
McCLELLAND, KENNET |D-010,051-C 1/29/01
McDERMOTT, RAYMON|A-960,229-C 5/31/96
MILAM, BAKER D-940,598-C 12/27/94
MITCHELL, WILLI L., JR.|D-960,228-C 5/31/96
IMIZELL, WILLIAM, JR. |D-010,171-C 4/3/01
IMOORE, JOHN H. B-960,028-C 1/25/96
MOORE, RAYMONDD L.|B-010,038-C 1/23/01
MOORE, TROY J. B-161,197 7/16/99
MORGAN, CARROLL _ |B-970,211-C | 6/11/97
MORGAN, FRANK E-164,843 4/4/01
MORRIS, DOUGLAS T. |B-970,038-C 2/4/97
IMOSLEY, JERRY L. B-010,170-C 4/3/01
IMOTL, WAYNE L. A-163,835 9/21/00
IMULLICAN, JACK G. _[D-000,085-C _| 2/24/00
MURRAY, JOSEPH R._ |A-950,058-C 2/3/95
NETTLES, PAMELA A-157,260 6/18/97
NIXON, WILLIAM F., JR. |A-950,358-C 8/30/95
NORWOOD, WALTER, J|D-950,296-C 7/27/95
O'GEA, LEROY J. D-000,060-C 2/5/00
OLDBURY, LEWISD. __B-163,837 9/21/00
PACE, PATRICIA A-154,230 1/26/96
PACE, PAUL J. A-154,230 1/26/96
PAPILION, HARRY J. —__|D-000,142-C 3/30/00
PARKER, JOHNNIE S._ |A-150,221 10/6/04
PARMAN, JOHN R. A-156,747 4/2/97

Page 4
Case 01-01139-AMC Doc163 Filed 05/01/01 Page 13 of 21

Client Name

Cause Numbe

WRGrace

=

Date Sul

PAULER, EDWIN A-147,756 11/17/93
PENCE, GEORGE W. __D-010,018-C 1/16/01
PHILLIPS, ROBERT L. (B-000,423-A 10/9/00
POWDRILL, TRUITT L. |A-158,614 3/19/98
POWELL, GERALDD M. |B-980,319-C 7/31/98
PREMEAUX, PRESTON |D-970,317-C 9/3/97
PROCELL, QUINCY B-000,333-C 8/18/00
PRUITT, JOE RAY D-980,479-C 11/13/98
PRUITT, MELVIN K. B-159,452 7/30/98
RAYFORD, FREDDIE L. |A-990,254-C 7/13/99
RAYFORD, NELEY A-163,498 8/21/00
RICHARD, MORMAN _ |D-980,361-C 8/28/98
RICHARDSON, ARCHIE |A-000,143-C 3/3/00
RIGSBEE, OSCARD H. |D-150,198 10/19/04
RISINGER, NATH C. A-970,318-C 9/3/97
ROBINSON, LIGE B-940,240-C 6/1/94
ROMANO, MICHAEL D-990,490-C 12/16/99
ROST, WHITNEY D-000,541-C 12/27/00
RUNNELS, TONY B-010,125-C 3/1/701
SANDERS, EDNA D-158,205 12/10/97
SHELTON, LUVEUNIA _|B-950,020-C 1/12/95
SHERMAN, WILLIAM S., |B-161,627 9/29/99
SHERRILL, RICHARD M |B-940,606-C 12/27/97
SHUGART, MICHAEL _ |B-000,084-C 2/24/00
SHULTS, TOLLIVER A-990,350-C 9/23/99
SIMONEAUX, JERRY W |B-980,403-C 9/21/98
SIMPSON, JOHN E. A-990,266-C 7/20/99
SIMS, MATTHEW B-000,483-C 11/13/00
SIMS, RICHARD A-970,022-C 1/23/97
SMITH, MARVIN L. D-010,093-C 2/20/01
SMITH, WILLIAM HUNT |A-980,379-C 9/22/98
SOLLY, WILLIAM H. D-990,301-C 8/13/99
SONNIER, OPHE B-960,035-C 1/25/96
STELLY, ELIE, JR. A-010,094-C 2/20/01
STELLY, PHILONESE M./B-010,188-C 4/11/01
STEVENS, TRUBERT _/16,088 1/19/93
ISTIMITS, JOHNNIE B. — |B-930,300-C 3/10/93
SWITZER, HOWARD D. |A-980,252-C 6/17/98
TAYLOR, EDWARD D-157,390 7/9/97
TAYLOR, STEVE D. D-990,203-C - 6/7/97
TEAL, WILLIAM HOY __|B-990,370-C 10/7/98
TEEL, WILLIAM, R. A-159,521-A 8/18/98
THERIOT, CHARLES __ /|B-158,204 12/20/97
THERIOT, DOROTHY — |A-145,204

THIBODEAUX, JOSEPH |B-000,108-C 3/8/00
THOMAS, ELEANOR __ |A-990,457-C 1/12/99
THOMPSON, ISAAC M. |A-950,457-C 10/12/95

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TULLIER, HAROLD, JR.

Cause Numbe:

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Date Sui

A-164,706 3/7/01
TYLER, JOMMIE JOE =B-940,276-C 6/21/94
ENABLE, HERMAN R. B-000,393-C 9/20/00
VIATOR, SHIRLEY D-154,564 8/28/98
VICKROY, KENNETH — B-159,564 8/28/98
WADE, LOUIS A. A-970,249-C 7/9/98
WALKER, EARL D. D-157,545 8/15/97
WALKER, JAMES H. B-157,195 6/6/97
WARREN, LONNIE D. — |A-960,310-C 7/19/96
WHEELER, TOMMY R., |A-157,544 8/15/97
WHITE, BURNS B-010,077-C 2/13/01
WILKERSON, JENNING |D-940,601-C 12/27/94
WILLIAMS, MORRIS H._ |E-010,095-C 2/20/01
WINGATE, NICHOLAS _ |B-000,480-C 11/13/00
WISE, NOBLE A-980,321-C 8/3/98
WOODFORD, CHARLES|A-160,076 11/16/98
WORTH, WINFIELD S._ |A-940,470-C 10/11/94
YOUNG, CHARLES J. |D-159,563 8/28/98
YONNG, JON Q. B-154,985 5/31/96

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CONTINGENCY FEE CONTRACT

THIS IS AN AGREEMENT between

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hereafter referred to as "Client", and Paul Henderson with Dies,

Dies & Henderson, hereafter referred to as "Attorneys."

1. Matter Covered: Client retains Attorneys to represent
Client in a cause of action against Asbestos Product
Manufacturers or any other person, firm or corporation
liable for asbestos-related injuries and/or wrongful Ceath.

23 Services to be Performed by Attornevs: Attorneys agree to
perform the legal services reasonably required to prosecute
Client’s claim to judgment in a trial court; and to prosecute
or oppose any post trial motions. Attorneys are authorized to
associate and employ other counsel to assist in representing

Client, at Attorneys’ own expense.

3. No Guarantee as to Result: Client acknowledges

that

Attorneys have made no guarantee as to the outcome of amour |:

recoverable in connection with Client’s claim.

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No Fee if no Recoverv: Client and Attorneys agree that if no

recovery, monetary or otherwise, is obtained, Attorneys shall
receive no fee for their services nor receive repayment of

advanced litigation costs and expenses.

5. Litigation Costs and Expenses: Attorneys shall advance
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such costs as in their judgment & necessary f
prosecution of these claims and costs advance
Attorneys shall be pa
These costs may inc

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yable out of any recovery in the ce
ude, but will not be limited to, costs of

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sol

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medical evaluations, costs of obtaining medical records,
reasonable copying end postage costs, telephone and facsimile
transmission charges, messenger and delivery charges, travel

expenses, court costs and filing fees, process serving
investigators’ fees, word and data processing charges, fs
experts for consultation with Attorneys, and/or appearan
deposition or trial, and jury fees. Advanced costs
ed herein shall be payable out cf

6. Contingency Fee to Attornevs: Client acknowledges
he/she has been advised by Attorneys that any contin
fee is negotiable and is not set by law. Bearing such 4
in mind, Client agrees to pay to Attorneys a contingency
as follows:

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\ after suit is filed; and

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b) if notice of appeal is filed by either party.

EXHIBIT "B"
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Costs and Expenses as Affecting Contingency Fees: Costs and

expenses incurred in connection with the prosecution or
settlement of Client’s claim shall be reimbursed after the
contingency fee is computed. For example, if Client’s claim
is settled for $1,000.00, and litigation expenses total
$100.00, the Attorneys’ contingency fee shall be based on
the gross amount of $1,000.00. Client share of the recovery
shall be the balance remaining after deducting Attorney’s
contingency fees then costs.

Form of Recovery as Affecting Contingency Fee: In the event
the recovery consists of periodic payments over a period of
time, or any other form of property which is not cash or
cash equivalent, the contingency fee shall be based on the
present cash value of the recovery and shall be payable out
of the first funds-or property received. If cash payment
is periodic, attorney fees will be paid upon receipt and
after costs and expenses as described in No. 7 above.

Common Cases: I/we understand that this case may be a part
of a large number of cases of the same nature which may be
handled as an aggregate or multiple group for trial
preparation and settlement negotiations and I/we hereby
authorize my Attorneys to enter into any aggregate or
multiple settlement negotiations. I/we understand that the
total amount of such settlements will be confidential in
that any such aggregate or multiple settlement may involve
settlements of other clients’ cases,

I/we understand that certain expenses will be incurred in
furtherance of this aggregate or multiple group of cases and
I/we hereby authorize my attorneys to prorate equally
between and among these cases the expenses so incurred in
the furtherance of all cases, and as such I/we agree to have
those expenses deducted from the net settlement as provided
in this contract.

Cooperation with Attorneys: Client shall keep Attorneys
advised of the whereabouts of Client at all times, shall
appear on reasonable notice to any and all depositions and
court appearances and.shall comply with all reasonable
requests of Attorneys in connection with the preparation and
presentation of the claim described herein.

Power to Execute Documents: No settlement of said claims
shall be made by the undersigned except by and through the
Attorneys. No settlement shall be made by the Attorneys
without the signature of the undersigned on a release.
Client hereby gives Attorneys the power and authority to
execute all pleadings, claims, contracts, settlements,
drafts, checks, compromises, releases, dismissals, deposits,
orders and other papers which Client could properly be
payable or deliverable to Client on account of any judgment
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recovered or any settlement agreed to in connection with the
claims described herein.

Attorneys’ Lien: Client hereby grants Attorneys a lien on
Client’s claim and any cause of action filed thereon to
secure payment to Attorneys of all sums due under this
Agreement for services rendered and costs advanced.

Other Services: The fees as stated above in this agreement
constitute the total fees which Client shall be required to
pay to Attorneys as a result of Attorneys’ prosecution of
claims for personal injuries, property damage, expenses and
other losses arising from the incident and/or injuries
specified in this Agreement. Any other services requested
by Client and rendered by Attorneys to Client shall be
billed to, and paid by Client, or in such other amount as
the parties may agree. It is expressly agreed and
understood that the services to be provided under this
agreement by Attorneys do not include efforts to obtain
worker’s compensation benefits for clients, whether those
benefits be under State or Federal law, or to perform
probate or estate planning services. However, client may
separately contract with attorneys for performance of same.

Client Acknowledgment: Client acknowledges having read all
of the terms and conditions set forth in this agreement and
that he/she fully understands and agrees to same.

Attorneys Licenses: It is understood that the firm of Dies,
Dies & Henderson practices primarily in the state of Texas.

Texas Law: It is understood that the terms and conditions
of this agreement are governed primarily by Texas Law and
the Texas Rules of Professional Conduct.

Statement of Client’s Rights: The State Bar of Texas
investigates and prosecutes professional misconduct
committed by Texas attorneys. Although not every complaint
against or dispute with a lawyer involves professional
misconduct, the State Bar Office of the General Counsel will
provide you with information about how to file a complaint.
For more information, please call: 1-800-932-1900. This
is a toll-free phone call.

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Entered into on the day of , 20

DIES, DIES & HENDERSON CLIENT

CLIENT SPOUSE

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SERVICE LIST

W.R. GRACE & CO.— CONN.

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Elihu Inselbuch Lanier Parker & Sullivan, P.C.
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Alan Rich
Theodore Goldberg Russell Budd
Mark C. Meyer Baron & Budd, P.C.
Goldberg, Persky, Jennings & White, P.C. The Centrum

EXHIBIT “c"

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